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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                   :
                                            :
       v.                                   :        No. 1:21-cr-00447-CJN-03
                                            :
JOSHUA DOOLIN,                              :
Defendant.                                  :

         SUPPLEMENTAL BRIEFING FOR MENS REA UNDER 18 U.S.C. § 661

       During closing arguments on March 14, 2023, the Government conceded that it could not

find case law requiring a defendant charged under 18 U.S.C. § 661 to have an objectively

reasonable mens rea to use an abandonment defense. 1

       Instead, the Government suggested that the Court look to the common law definition of

larceny. According to the government, under that common law crime, the defendant must have an

“honest belief” to use an abandonment defense.

       Defendant Doolin submits that the common law crime of larceny is a separate and distinct

offense. First, the United States Court of Appeals for the Third Circuit specifically considered

whether 18 U.S.C. § 661 is a codification of the common law crime of larceny. The Court held:



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 Although the Government did not explain their concession, Defense Counsel believes that it
was because of the following excerpts of case law:
   - “[W]rongdoing must be conscious to be criminal,” and that a defendant must be
       “blameworthy in mind” before he can be found guilty. Morissette v. United States, 342
       U.S. 246, 252 (1952).
   - Courts have been particularly concerned to require a showing of intent where “necessary
       to separate wrongful conduct from ‘otherwise innocent conduct.’ ” Carter v. United
       States, 530 U.S. 255, 269 (2000) (quoting X–Citement Video, 513 U.S. at 72).
   - The “general rule” is that a guilty mind is “a necessary element in the indictment and
       proof of every crime.” United States v. Balint, 258 U.S. 250, 251.
   - This does not mean that a defendant must know that his conduct is illegal, but a
       defendant must have knowledge of “the facts that make his conduct fit the definition of
       the offense.” Staples v. United States, 511 U.S. 600, 608.
                                                 1
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“We are convinced that 18 U.S.C. § 661 and its predecessor statutes were not codifications of the

common law crime of larceny but were intended to broaden that offense.” United States v. Henry,

447 F.2d 283, 285–86, 8 V.I. 430, 434 (3d Cir. 1971). Consequently, the Henry Court rejected

Appellant's argument that the Government needed to prove an element of the common law offense

of larceny to convict under 18 U.S.C. § 661, i.e., the intent to permanently deprive. Here, Doolin

analogizes to Henry. It would be improper for the Government to prove an element of the common

law offense of larceny to convict under 18 U.S.C. § 661. They are distinct.

       Second, the United States Court of Appeals for the Fourth Circuit held that a defendant

who broke into a building could be prosecuted for both breaking and entering with intent to commit

larceny and 18 U.S.C. § 661. Clark v. United States, 267 F.2d 99, 100 (4th Cir. 1959). The Court

recognized that they were “two separate statutes based in part up on the same acts” not to be

conflated. Id.

       Based on the government’s concession, the case law in Footnote 1, and the case law from

the Third and Fourth Circuits, a defendant need not have an objectively reasonable mens rea under

18 U.S.C. § 661 to use an abandonment defense.

                                             Respectfully submitted,


                                              Allen H. Digitally         signed by
                                                                Allen H. Orenberg

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                      CERTIFICATE OF SERVICE


        I hereby certify that on the 14th day of March, 3023, I served via CM/ECF the

foregoing SUPPLEMENTAL BRIEFING FOR MENS REA UNDER 18 U.S.C. § 661 to case

registered parties.



                                       Allen H. Digitally      signed
                                                      by Allen H.

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                                        Allen H. Orenberg




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